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               United States District Court
                 District of New Jersey
                UNITED STATES OF Alv.lERICA
                                       v.
                           CAZCRAFFY
                     a/k/a "CARZ CRAFFEY''

                    INDICTMENT FOR
                          15 U.S.C. §§ 78j(b), 78ff(a);
                           and 17 C.F.R. § 240.l0b-5
                               18 u.s.c. § 1343
                               18 u.s.c. § 1014
                                18 u.s.c. § 208
                               18 u.s.c. § 1001
                                 18 u.s.c. § 2




                 Foreperson ---�_;;;:;:______ .. ·-

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